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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

         Plaintiff,

         v.                                                         No. 1:19-cv-02184

 FACEBOOK INC.,

         Defendant.


              UNOPPOSED MOTION FOR LEAVE TO FILE A BRIEF OF THE
               ELECTRONIC PRIVACY INFORMATION CENTER (EPIC) AS
                 AMICUS CURIAE IN OPPOSITION TO THE MOTION TO
                         APPROVE CONSENT JUDGMENT

       Proposed amicus curiae, Electronic Privacy Information Center (“EPIC”), respectfully

moves this Court under LCvR 7(o) for leave to file a brief in opposition to the consent motion to

approve consent judgment by the United States. ECF No. 2. In support of this motion, EPIC

states as follows:

1.      EPIC previously filed a motion to intervene “or, in the alternative, for leave to file an

amicus curiae brief in opposition to the proposed Consent Decree of the parties,” and for other

relief on July 26, 2019. EPIC Mot., ECF No. 5. The Court has not yet ruled on EPIC’s motion.

2.     The United States and Facebook filed oppositions to EPIC’s Motion on August 5, 2019,

but both parties specified that they took “no position” on EPIC’s request to file an amicus brief.

U.S. Br. 4, ECF No. 11; Facebook Br. 1, ECF No. 12. EPIC reached out to both parties again

prior to filing this motion, pursuant to LCvR 7(m), and both parties again confirmed that they

take no position (and thus do not oppose) EPIC’s motion to file an amicus brief.




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3.     On September 12, 2019, the Center for the Legalization of Privacy filed an unopposed

motion for leave to file an amicus brief. ECF No. 17. The Court subsequently issued a Minute

Order later that day, granting the Motion and ordering the group to file its amicus curiae brief by

October 15, 2019.

4.     EPIC seeks, through this motion, to file an amicus curiae brief on the same date this

Court has previously set for the filing of a brief amicus curiae in this matter.

5.     This motion to file as amicus curiae is not a waiver of, nor does it supersede, EPIC’s

pending motion of July 26, 2019 to intervene.

6.     EPIC is a public interest research center in Washington, D.C. EPIC was established in

1994 to focus public attention on emerging civil liberties issues and to protect privacy, the First

Amendment, and other constitutional values.

7.     EPIC has a unique interest in this case because EPIC, along with a coalition of consumer

protection organizations, brought the complaints that led to the 2012 Federal Trade Commission

(“FTC”) Consent Order against Facebook (“2012 Consent Order”). EPIC Mot., Ex. 1, ECF No.

5-2. Since 2012, EPIC has filed five detailed complaints with the Commission regarding

Facebook’s business practices, alleging violations of the 2012 Consent Order. All of these

complaints, as well as many similar complaints brought to the Commission by consumer and

privacy organizations representing the interests of Facebook users, would be extinguished by the

proposed consent decree that the FTC and Facebook have submitted to this Court for review.

8.     An amicus brief from EPIC is desirable in this case because EPIC is uniquely situated to

address the fairness, adequacy, and reasonableness of the parties’ proposed consent decree. For

more than a decade, EPIC has brought forward evidence to the Federal Trade Commission

concerning the business practices of Facebook that impact the privacy interests of users of the




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company’s services. EPIC has discussed these issues in complaints to the Commission,

testimony to Congress, and articles in journals and national publications. No other group is as

well positioned as EPIC to speak to the adequacy of this settlement.

9.     EPIC’s position is not adequately represented by either party in this matter because both

parties have agreed to the proposed consent decree.

10.    EPIC’s arguments are relevant to the disposition of this case because the Court must

assess the adequacy and fairness of the settlement before it rules on the parties’ consent motion.

       For these reasons, EPIC asks this Court to grant EPIC’s motion and file the attached

proposed amicus brief.




                                      Respectfully Submitted,


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Dated: October 15, 2019




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